      Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 1 of 15
                                                                                                     United States District Court
                                                                                                       Southern District of Texas

                                                                                                           ENTERED
                                                                                                           July 11, 2022
                         IN THE UNITED STATES DISTRICT COURT
                                                                                                        Nathan Ochsner, Clerk
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION

RICHARD VASQUEZ,                                           '
                                                           '
            Petitioner,                                    '
v.                                                         '             CIVIL ACTION NO. C-05-59
                                                           '
BOBBY LUMPKIN,                                             '
Director, Texas Department of                              '
Criminal Justice, Correctional                             '
Institutions Division                                      '
                                                           '
            Respondent.                                    '

                                                      ORDER

            Texas death-row inmate Richard Vasquez filed a federal petition for a writ of

habeas corpus in 2006. D.E. 15. On March 28, 2008, Vasquez’s petition was denied

in a Memorandum and Order that addressed all his claims. D.E. 25.1 Over a decade

later, Vasquez has filed a Motion for Relief from Judgment under Rule 60(b)(6).

D.E. 51. The Court denies Vasquez’s Rule 60(b) motion for the reasons discussed

below.

I.          Background

            The State of Texas charged Vasquez with capital murder for the beating death

of his girlfriend’s four-year-old daughter. In 1999, Vasquez stood trial in the 148th



1
            The Honorable United States District Judge Hayden Head presided over the adjudication of Vasquez’s federal
petition.
1 / 15
     Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 2 of 15




Judicial District Court, Nueces County Texas. The evidence before the jury showed

that Vasquez “became angry and unleashed his frustration on [the young victim].

She died as a result of severe brain injuries sustained when Vasquez, in a drug-fueled

rage, struck her several times in the head.” Vasquez v. Thaler, 389 F. App’x 419,

422 (5th Cir. 2010).      The trial evidence revealed other tragic circumstances

surrounding her death: “significant evidence emerged that [the victim] had also been

severely sexually assaulted before she died, responsibility for which Vasquez

denied. A toxicology report revealed cocaine levels in [her] blood that were double

the lethal amount for an adult, although neither the doctor nor Vasquez could explain

the presence of the drug in her blood.” Id.

         Vasquez’s Rule 60(b) motion challenges testimony and evidence which the

State presented at his trial. Vasquez’s motion focuses on two factors: (1) one of the

State’s witnesses testified that Vasquez had inflicted “brain injuries . . . equivalent

to those [the victim] would have sustained had she been ejected from a car traveling

65 m.p.h.” and (2) the State adduced testimony describing how the victim had a

“potentially lethal amount of cocaine” in her system when she died. Vasquez v.

State, No. 73,461, slip op. at 3-7 (Tex. Crim. App. Oct. 3, 2001). Vasquez’s 2006

federal petition did not directly challenge the evidence relating to those two factors.

Respondent’s motion for summary judgment discussed those two factors, but

primarily in the context of showing that no prejudice resulted from any error in trial

2 / 15
     Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 3 of 15




counsel’s representation. D.E. 20 at 4-7, 23-24, 32, and 36. Respondent, however,

did not belabor the impact of the trial evidence. Respondent briefly mentioned the

now-challenged evidence and tersely asserted that “the horrific nature of the crime

and Vasquez’s escalating criminal history” precluded any finding that error

prejudiced his defense. D.E. 20 at 24.

         Both the district and circuit court opinions extensively discussed the trial

testimony and forensic evidence. The evidence, however, was discussed in two

contexts: (1) when summarizing the facts and (2) in weighing an unrelated

ineffective-assistance-of-counsel claim against the evidence which the jury

considered. D.E. 20 at 12-13; Vasquez v. Thaler, 389 F. App’x 419, 427 (5th Cir.

2010).

         Notwithstanding changes in forensic science and developments in Vasquez’s

understanding of the evidence, Vasquez has not litigated any relevant issue in federal

court since the denial of federal habeas review. Vasquez’s federal habeas case has

sat dormant for years after the Supreme Court denied certiorari review in 2011.

         The challenged brain-injury and cocaine evidence became the focus of a

successive state habeas application which Vasquez filed in 2015 (“2015

application”). Ex parte Vasquez, No. 59,201-03 (Tex. Crim. App. Apr. 15, 2015).

Vasquez’s 2015 application argued that the trial evidence lacked serious foundation,

partially because changes had occurred in forensic science after his trial. The Nueces

3 / 15
     Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 4 of 15




County District Attorneys’ Office did not offer a zealous defense during the state

habeas proceedings. In fact, the Nueces County District Attorney’s Office explicitly

stated on the record that “a new trial would be appropriate under the circumstances.”

D.E. 51-3 at 10. Vasquez says that the Nueces District Attorney’s Office also made

three concessions during the successive habeas proceedings:

         (1)   the victim’s “backward fall from a bathroom stool could have
               generated forces sufficient to have caused her death, thus
               debunking the State’s prior narrative that [the victim] could only
               have died at Vasquez’s hands”;

         (2)   “the so-called evidence that Vasquez struck [the victim] with the
               force of a speeding car was false and never had any scientific
               validity”; and

         (3)   the “evidence on cocaine intoxication was unreliably false and .
               . . there was no real evidence that [the victim] had any cocaine
               in her system.”

D.E. 51 at 7 (emphasis in original).

         Notwithstanding any concession by the Nueces District Attorney’s Office, the

trial-level habeas court still entered findings of fact and conclusions of law

recommending that relief be denied. Pursuant to Texas habeas procedure, the district

judge’s recommendation was forwarded on to the Texas Court of Criminal Appeals.

Vasquez filed objections to the lower court’s recommendation. Vasquez raised

several points of error, including that the district judge’s recommendation did not

address all his arguments. D.E. 51-6 at 11. The Texas Court of Criminal Appeals

denied Vasquez’s 2015 application in 2021. See Ex parte Vasquez, No. WR-59,201-
4 / 15
      Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 5 of 15




03, 2021 WL 3746008, at *1 (Tex. Crim. App. Aug. 25, 2021).

           Now, over a decade after the conclusion of federal review, Vasquez moves

for relief under Rule 60(b)(6). Vasquez specifically states that he does not base his

motion on error in the trial or state habeas proceedings. Instead, Vasquez moves for

relief from judgment because “the integrity of the [federal] process . . . was severely

impaired by the use of false evidence . . . .” D.E. 51 at 32. Vasquez argues that the

Respondent’s reliance on the allegedly false trial evidence when litigating his federal

habeas action “infected the integrity of this proceeding [meaning the substantive

consideration of his federal habeas petition] and impaired this Court’s ability to

fairly adjudicate Vasquez’s [ineffective-assistance-of-counsel] claim.” D.E. 51 at 7,

37 (emphasis in original).

           Respondent opposes Vasquez’s motion. D.E. 58. In this case, “the real party

in interest is the State of Texas.” Saldano v. Roach, 363 F.3d 545, 551 (5th Cir.

2004). The Director of the Texas Department of Criminal Justice, Correctional

Institutions Division represents Texas in this action.                                  Notwithstanding any

concession of error by the District Attorney in a state court proceeding, Respondent

has not conceded any error here.2 Respondent contends that, notwithstanding the

title of his pleading, Vasquez’s Rule 60(b)(6) motion is actually a successive habeas



2
           The Nueces County District Attorney’s Office has made no effort to intervene in, or otherwise influence, this
lawsuit.
5 / 15
      Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 6 of 15




petition. Alternatively, Respondent contends that Vasquez is not entitled to Rule

60(b)(6) relief because his motion is untimely and does not demonstrate

extraordinary circumstances. Vasquez has not replied to Respondent’s arguments.

II.      Alleged Fraud on the Court

         Before answering the procedural question of which vehicle Vasquez should

use to challenge the trial evidence, the Court pauses to observe a flaw inherent in

Vasquez’s arguments. No matter how the Court characterizes the pleading now

before the Court, Vasquez’s arguments depend on showing that Respondent

committed fraud during the initial federal habeas proceedings. Vasquez specifically

argues that Respondent committed “fraud or other misconduct that resulted in a

flawed [federal] resolution of a habeas claim.” D.E. 51 at 36. Vasquez bears a heavy

burden when alleging fraud by Respondent. The Fifth Circuit has decided that such

a “defect in the integrity of the federal habeas proceeding” could include a “fraud on

the court,” but only in limited circumstances:

         To establish fraud on the court, it is necessary to show an
         unconscionable plan or scheme which is designed to improperly
         influence the court in its discretion. Generally speaking, only the most
         egregious misconduct, such as bribery of a judge or members of a jury,
         or the fabrication of evidence by a party in which an attorney is
         implicated, will constitute a fraud on the court. Less egregious
         misconduct, such as nondisclosure to the court of facts allegedly
         pertinent to the matter before it, will not ordinarily rise to the level of
         fraud on the court.



6 / 15
     Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 7 of 15




Fierro v. Johnson, 197 F.3d 147, 154 (5th Cir. 1999) (quoting First Nat’l Bank of

Louisville v. Lustig, 96 F.3d 1554, 1573 (5th Cir. 1996)).

         Vasquez says that “the State of Texas knew or should have known that it was

urging this Court [during the initial proceedings] to deny Vasquez relief based [on]

false evidence.” D.E. 51 at 35 n.9. Despite his protestations, Vasquez’s allegations

of fraud plainly rely on what happened at trial and in his successive state habeas

proceedings. Nothing on the record suggests that the Respondent in this action knew

that any trial evidence was based on invalid scientific principles or on a false factual

foundation. See Fierro v. Johnson, 197 F.3d 147, 154 (5th Cir. 1999) (“To establish

fraud on the court, it is necessary to show an unconscionable plan or scheme which

is designed to improperly influence the court in its discretion.”); Herring v. United

States, 424 F.3d 384, 386 (3d Cir. 2005) (stating that a fraud on the court requires:

“(1) an intentional fraud; (2) by an officer of the court; (3) which is directed at the

court itself; and (4) in fact deceives the court”). Vasquez has not shown any

intentional effort by Respondent to obfuscate the record or hide information. See

Fierro, 197 F.3d at 154 (“[O]nly the most egregious conduct, such as bribery of a

judge or members of a jury, or the fabrication of evidence by a party in which an

attorney is implicated, will constitute a fraud on the court.”).




7 / 15
      Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 8 of 15




         Vasquez’s arguments depend on showing that the State should have known

the trial evidence lacked a sure factual or scientific foundation.3 The Fifth Circuit

has refused to impute any alleged fraud in the trial court to the respondent in federal

habeas proceedings. See Lave v. Davis, 655 F. App’x 255, 259-60 (5th Cir. 2016);

Fierro, 197 F.3d at 155-56. Vasquez argues that Respondent “had a responsibility,

at least as great as that imposed on Vasquez’s lawyers, to exercise diligence to assess

the validity of the scientific testimony . . . before re-offering it in this court in 2008

. . . .” D.E. 51 at 35. Vasquez has not cited any law stating that the State must retest

and reevaluate its trial evidence—even if not disputed by the inmate—as it defends

a criminal judgment throughout postconviction remedies.

         Nothing in Vasquez’s federal petition questioned the forensic evidence from

trial. Nothing in the petition or state court record provided any indication that the

state of scientific evidence may have changed after trial. The federal pleadings only

required consideration of the forensic trial evidence in a narrow context: looking at

the evidence that had been before the jury in assessing prejudice from trial counsel’s

representation. The nature of federal habeas review did not require any serious

reappraisal of that unchallenged evidence. Federal habeas review “focuses on what

a state court knew and did.” Cullen v. Pinholster, 563 U.S. 170, 182 (2011). A


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         Vasquez based his successive state habeas arguments on a “change in scientific thinking” that occurred after
trial. D.E. 59-15 at 46. With that focus, Vasquez cannot argue that the State perpetrated fraud at trial with regard to
the forensic evidence relating to the victim’s brain injury.
8 / 15
       Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 9 of 15




federal court’s review of ineffective-assistance-of-counsel claims focuses on the

information that was actually before the jury. See Trevino v. Davis, 829 F.3d 328,

339-40 (5th Cir. 2016) (“[A] federal habeas court must re-weigh all the evidence in

aggravation against the totality of available mitigating evidence (had the Petitioner’s

trial counsel chosen a different course).”). Because nothing directly challenged or

called into question the trial evidence, Vasquez has not shown that the State should

have known that trial evidence may have been false. In short, Vasquez has not

provided any serious substantiation to his allegations of fraud.

III.     The Difference Between Rule 60(b) Motions and Successive Habeas
         Petitions

         The viability of Vasquez’s motion depends on whether he has filed a true Rule

60(b)(6) motion or whether he has, in effect, filed a successive federal habeas

petition. Federal courts must often confront a decisive question: “What is the

difference between a proper Rule 60(b) motion and one that is a disguised successive

motion for habeas relief?” Fratta v. Lumpkin, No. 21-70001, 2022 WL 44576, at *2

(5th Cir. Jan. 5, 2022).      The Antiterrorism and Effective Death Penalty Act

(“AEDPA”) strongly encourages a petitioner to present all legal and factual

arguments in one habeas petition. See McCleskey v. Zant, 499 U.S. 467, 498 (1991).

Because of AEDPA’s strict limitations, state prisoners sometimes attempt to “use

Rule 60(b) motions to evade AEDPA’s limitations on successive habeas petitions.”

Jackson v. Lumpkin, 25 F.4th 339, 340 (5th Cir. 2022) (citing Gonzalez v. Crosby,
9 / 15
    Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 10 of 15




545 U.S. 524, (2005)); see also Will v. Lumpkin, 978 F.3d 933, 937 (5th Cir. 2020)

(stating that federal courts are “concerned that petitioners will use Rule 60(b)

motions to subvert the statutory framework and get an impermissible second look at

their denied habeas claims”). In Gonzalez, the Supreme Court explained that a valid

Rule 60(b) in a habeas case identifies “some defect in the integrity of the federal

habeas proceeding,” such as a procedural error in determining nonsubstantive issues.

545 U.S. at 524, 532 n.4. However, the Gonzalez Court cautioned that a pleading

labeled as a Rule 60(b) motion is actually a successive petition “when it presents a

new claim for relief, or when it presents new evidence in support of a claim already

litigated, or when it asserts a change in the substantive law governing the claim, or

when it attacks the federal court’s previous resolution of a claim on the merits.” Ruiz

v. Quarterman, 504 F.3d 523, 526 (5th Cir. 2007) (footnote omitted) (citing

Gonzalez, 545 U.S. at 529). The Court must decide whether Vasquez’s Rule

60(b)(6) motion truly challenges the habeas proceeding or whether he advances new

grounds for relief.

          Vasquez may proceed on his Rule 60(b)(6) motion only if it challenges the

integrity of the habeas proceeding, instead of attempting to litigate new law or facts.

See Gonzales v. Davis, 788 F. App’x 250, 252 (5th Cir. 2019). Vasquez’s briefing

makes clear that he relies on evidence developed after the federal judgment issued

in this case. Vasquez’s motion is not completely clear on what relief he seeks in

10 / 15
      Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 11 of 15




asking the Court to reopen the judgment—whether he asks the Court (1) to reassess

his earlier federal claims in light of the new evidence or (2) to allow the litigation of

new habeas claims. Vasquez’s motion amounts to a successive federal petition under

either scenario. Under the first scenario, Vasquez’s motion is “if not in substance a

habeas corpus application, at least similar enough that failing to subject it to the same

requirements would be inconsistent with the statute” because it “circumvents

AEDPA’s requirement that a new claim be dismissed unless it relies on either a new

rule of constitutional law or newly discovered facts.” Gonzalez, 545 U.S. at 531.

Vasquez’s arguments are “effectively indistinguishable from alleging that [he] is,

under the substantive provisions of the statutes, entitled to habeas relief.” Id. at 532.

And under the second scenario, offering new evidence to support new claims is the

very definition of a new habeas petition.

          AEDPA deprives this Court of authority to consider a successive action in the

first instance. See 28 U.S.C. § 2244(b). Until the Fifth Circuit authorizes review,

this Court lacks authority to consider the arguments in Vasquez’s Rule 60(b) motion.

IV.       Alternative Rule 60(b) Analysis

          Alternatively, Vasquez has not shown entitlement to Rule 60(b)(6) relief.

Rule 60(b) contains six categories for relief: (1) mistake, inadvertence, surprise or

excusable neglect; (2) newly discovered evidence that by due diligence could not

have been discovered before the court’s decision; (3) fraud by the adverse party; (4)

11 / 15
    Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 12 of 15




voiding of the judgment; (5) satisfaction of the judgment; (6) any other reason

justifying relief. See Fed. R. Civ. P. 60(b). Vasquez has explicitly moved for relief

under Rule 60(b)(6), the “catch-all provision.”      The Rule 60(b)(6) “catch-all”

provision covers “any other reason that justifies relief.” Fed. R. Civ. P. 60(b)(6);

see also Hess v. Cockrell, 281 F.3d 212, 215-16 (5th Cir. 2002). A court will only

grant a Rule 60(b)(6) motion “if extraordinary circumstances are present.” Id. at 216

(quoting Bailey v. Ryan Stevedoring Co., Inc., 894 F.2d 157, 160 (5th Cir. 1990)).

          Despite relying on the catch-all provision, Vasquez’s Rule 60(b) motion

repeatedly alleges that Respondent’s reliance on the challenged trial evidence is a

species of fraud. D.E. 51 at 32-34, 36. The Rule 60(b) categories of relief “are

mutually exclusive from one another, meaning that an action cannot be brought

through the catch-all provision of Rule 60(b)(6) if it could have been brought

through one of the Rule’s first five subsections.” United States v. Fernandez, 797

F.3d 315, 319 (5th Cir. 2015) (internal quotation omitted); see also Lafarge Conseils

Et Etudes, S.A. v. Kaiser Cement & Gypsum Corp., 791 F.2d 1334, 1338 (9th Cir.

1986) (“Clause 60(b)(6) is residual and ‘must be read as being exclusive of the

preceding clauses.’”). Rule 60(b)(3) explicitly allows for relief from judgment in

cases of “fraud (whether previously called intrinsic or extrinsic), misrepresentation,

or misconduct by an opposing party.” Vasquez’s arguments properly fall under Rule

60(b)(3) which requires filing “no more than a year after the entry of the judgment

12 / 15
     Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 13 of 15




or order or the date of the proceeding.” Rule 60(c)(1); see also Gonzalez, 545 U.S.

at 535. Vasquez’s motion, which he should have brought under Rule 60(b)(3), was

filed too late.

          Alternatively, Vasquez is not entitled to relief even if he has properly filed

under Rule 60(b)(6). Reopening a judgment under Rule 60(b)(6) requires a movant

to clear two hurdles. First, “[a] motion under Rule 60(b)(6) must be made within a

reasonable time, unless good cause can be shown for the delay.” Clark v. Davis, 850

F.3d 770, 780 (5th Cir. 2017) (quotation and footnotes omitted). “Timeliness . . . is

measured as of the point in time when the moving party has grounds to make [a Rule

60(b)] motion. . . .” In re Osborne, 379 F.3d 277, 283 (5th Cir. 2004). The scientific

principles underlying Vasquez’s new forensic evidence were available to him many

years ago. Vasquez discusses tactical reasons for which he would withhold his

motion. Still, Vasquez sat on the factual basis for his Rule 60(b) motion rather than

expeditiously seeking federal relief. Vasquez has not shown any legal principle

precluding him from immediately filing his Rule 60(b) motion when the new

arguments became available.4 The Court finds that his Rule 60(b)(6) motion is not

timely.




4
         Even accepting Vasquez’s argument that the concessions by the Nueces County District Attorney’s Office
on successive state habeas review provide a basis to reopen judgment, he still waited several months after the
conclusion of that proceeding before seeking relief in this Court.
13 / 15
     Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 14 of 15




          Second, “relief under Rule 60(b)(6) is available only in ‘extraordinary

circumstances.’” Buck v. Davis, 137 S. Ct. 759, 777 (2017) (quoting Gonzalez, 545

U.S. at 533). Vasquez’s allegations do not show any knowing fabrication of

evidence, intentional misrepresentation of scientific principles, or intentional

obfuscation by the State attorneys at any point in the legal process. Vasquez instead

argues that scientific understanding of some evidence changed after trial and that

experts could conclude that some trial testimony was not factually correct. While

possibly serving as grounds for consideration in a successive federal habeas petition,

Vasquez has not shown that the circumstances he presents are exceptional ones

requiring relief under Rule 60(b)(6). The Court alternatively finds that Rule 60(b)

relief would not be appropriate in this case.

V.        Conclusion

          The Court finds that Vasquez’s Rule 60(b)(6) motion is, in effect, a successive

federal habeas petition which the Court lacks jurisdiction to adjudicate absent

authorization from the Fifth Circuit. In the alternative, the Court finds that Vasquez

is not entitled to relief under Rule 60(b).

          The Court, therefore, DENIES Vasquez’s Rule 60(b)(6) motion. D.E. 51.

The Court also denies any remaining requests for relief. Should Vasquez seek

appellate review, the Court does not certify any issue for consideration under 28

U.S.C. § 2253(c).

14 / 15
    Case 2:05-cv-00059 Document 60 Filed on 07/11/22 in TXSD Page 15 of 15




          The Clerk will deliver a copy of this Order to the parties.

          ORDERED on July 11, 2022.

                                                  _______________________________
                                                  NELVA GONZALES RAMOS
                                                  UNITED STATES DISTRICT JUDGE




15 / 15
